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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                  §
In re:                                            § Chapter 7
                                                  §
ALEXANDER E. JONES,                               § Case No. 22-33553 (CML)
                                                  §
                Debtor.                           §
                                                  §
                                                  §

 TRUSTEE’S EMERGENCY MOTION FOR ENTRY OF AN ORDER AUTHORIZING
 (I) THE SALE OF INTELLECTUAL PROPERTY ASSETS IN CONNECTION WITH
             THE WINDDOWN OF FREE SPEECH SYSTEMS, LLC AND
     (II) THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS
                          [Relates to Docket No. 829]

 This motion seeks an order that may adversely affect you. If you oppose the motion, you
 should immediately contact the moving party to resolve the dispute. If you and the
 moving party cannot agree, you must file a response and send a copy to the moving party.
 You must file and serve your response within 21 days of the date this was served on you.
 Your response must state why the motion should not be granted. If you do not file a
 timely response, the relief may be granted without further notice to you. If you oppose
 the motion and have not reached an agreement, you must attend the hearing. Unless the
 parties agree otherwise, the court may consider evidence at the hearing and may decide
 the motion at the hearing.
 Represented parties should act through their attorney.
 Parties receiving this Motion should locate their names and their contracts on Exhibit A
 attached hereto.
 Emergency relief has been requested. If the Court considers the motion on an emergency
 basis, then you will have less than 21 days to answer. If you object to the requested relief
 or if you believe that the emergency consideration is not warranted, you should file an
 immediate response.
         Christopher R. Murray, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of

Alexander E. Jones (“Jones” or the “Debtor”) files this motion (the “Motion”) for entry of an

order authorizing the sale of assets of the Jones bankruptcy estate in connection with the winddown

of Free Speech Systems, LLC (“FSS”) and the assumption and assignment of certain executory

contracts. In support of this Motion, the Trustee respectfully states as follows:


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                                    PRELIMINARY STATEMENT

        1.       The Court’s Order Granting Trustee’s Motion for Entry of an Order Authorizing

the Winddown of Free Speech Systems, LLC [Docket No. 859] (the “Winddown Order”)1 which

authorized the Trustee to, amongst other things, auction and sell the non-cash assets of FSS. The

Court’s Order Supplementing Order Dismissing Case [Case No. 22-60043, Docket No. 1021] (the

“Supplemental Dismissal Order”) provided that all property of FSS was deemed vested in the

bankruptcy estate of the Debtor upon the dismissal of the FSS bankruptcy case. The Trustee

continues to operate the business of FSS with those assets pursuant to the Supplemental Dismissal

Order and the Jones estate’s ownership of 100 percent of the outstanding membership interests in

FSS.

        2.       In connection with the Winddown Order and the Supplemental Dismissal Order,

the Trustee seeks to sell the Jones bankruptcy estate’s interest in (i) the social media accounts of

Jones (the “Social Media Accounts”), (ii) the book entitled The Great Reset: And the War for the

World, including any royalties related thereto under an agreement with the publisher (collectively,

the “Book Rights”), and (iii) all rights in the videogame entitled Alex Jones: NOW Wars, including

any royalties related thereto under an agreement with the videogame developer (the “Videogame

Rights”, and together with the Social Media Accounts and the Book Rights, the “Jones IP

Assets”). For the avoidance of doubt, the Trustee is not seeking to sell any assets to which the

Debtor’s estate does not have a right, title or interest.

        3.       The Trustee and his advisors have received interest from multiple parties in

purchasing the Social Media Accounts in particular, and in the other Jones IP Assets in general, in



1 The facts surrounding the FSS winddown and the sale timeline are more fully stated in the Trustee’s Motion for
  Entry of an Order Authorizing the Winddown of Free Speech Systems, LLC [Docket No. 829] and the FSS Winddown
  Order, respectively, and are fully incorporated herein by reference.


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connection with indications of interest in the FSS Assets (as defined in the Winddown Order). The

Trustee believes, in his rational business judgment, that including the Jones IP Assets in the IP

Assets Auction (as defined in the Winddown Order) will enhance overall recoveries achieved

through the IP Assets Auction.

        4.      While the Trustee does not believe any party has liens, claims, or interests against

the Jones IP Assets, all parties asserting liens, claims, or interests against the Jones IP Assets, to

the extent there are any, would retain those rights in the net proceeds, which would be held by the

Trustee pending further order of this Court.

                                 JURISDICTION AND VENUE

        5.      The United States Bankruptcy Court for the Southern District of Texas has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2) and this Court may enter a final order consistent with Article III

of the United States Constitution.

        6.      Venue is proper pursuant to 28 U.S.C. § 1408.

        7.      The bases for the relief requested herein are sections 105, 363, 365 and 704(a) of

title 11 of the United States Code (the “Bankruptcy Code”) and rules 2002, 6004, 6006 and 9014

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 9013-1 of the

Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                         BACKGROUND

   I.        Bankruptcy Proceedings

        8.      On July 29, 2022, FSS filed its voluntary petition for relief under chapter 11

subchapter V of the Bankruptcy Code.




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       9.      On December 2, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code (prior to the Conversion Date, the “Jones

Chapter 11 Case”, and after the Conversion Date, the “Jones Chapter 7 Case”). The Debtor is an

employee of FSS. 100 percent of the outstanding membership interests in FSS are owned by the

Debtor’s bankruptcy estate.

       10.     On December 13, 2022, the United States Trustee for Region 7 (Southern and

Western Districts of Texas) (the “U.S. Trustee”) appointed the Official Committee of Unsecured

Creditors in the Jones Chapter 11 Case pursuant to Bankruptcy Code section 1102(a)(1).

       11.     The Debtor continued managing his assets as debtor and debtor in possession

pursuant to sections 1107 and 1108 of the Bankruptcy Code until the Court entered its Order

Converting Debtor’s Chapter 11 Case to a Case Under Chapter 7 of the Bankruptcy Code [Docket

No. 708] on June 14, 2024 (the “Conversion Date”). On June 21, 2024, the Court entered an order

dismissing the FSS Case [Case No. 22-60043, Docket No. 956] (the “Dismissal Order”), while

retaining exclusive jurisdiction over several adversary proceedings and the approval of

professional fees and expenses, as supplemented by the Supplemental Dismissal Order (as defined

below). On the Conversion Date, the U.S. Trustee appointed Christopher R. Murray as the

Chapter 7 Trustee in the Jones Chapter 7 Case.

       12.     On August 22, 2024, the Trustee filed the Trustee’s Motion for Entry of an Order

Authorizing the Winddown of Free Speech Systems, LLC [Docket No. 829].

       13.     On September 25, 2024, the Court entered the Supplemental Dismissal Order,

which provided that effective as of the entry of the Dismissal Order, the property of FSS’s

bankruptcy estate was deemed vested in the bankruptcy estate of Jones as property of his estate to

be administered by the Trustee. The Trustee continues to operate FSS pursuant to the terms of the



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Dismissal Order, the Supplemental Dismissal Order, and the Jones estate’s ownership of 100

percent of the membership interest in FSS.

         14.      On September 25, 2024, the Court entered the Winddown Order.

   II.         Jones IP Assets

         15.      Over the past two decades, social media accounts of influencers, celebrities, and

political personalities have become valuable assets. Jones’ Social Media Accounts are frequently

used to promote and post Infowars content, and in some cases have a significant number of

followers. The Social Media Accounts to which the Debtor’s estate has an interest are the

following:

                                             Social Media Accounts
    X (formerly Twitter): https://x.com/RealAlexJones              Bitclout: https://bitclout.com/u/AlexJones
           Gab.com: https://gab.com/RealAlexJones                  Telegram: https://t.me/AlexJonesChannel
                                                                               SubscribeStar:
Bitchute: https://www.bitchute.com/channel/tVt4srrb0hdW/           https://www.subscribestar.com/alexjones
  Minds: https://www.minds.com/TheAlexJonesChannel                     VK: https://vk.com/alexjoneslive
            Gettr: https://gettr.com/user/alexjones                   Cozy.TV: https://cozy.tv/alexjones
           Sovren: https://sovren.media/u/alexjones/                Parler: https://app.parler.com/alexjones
   BrighteonSocial: https://brighteon.social/@AlexJones       Truth Social: https://truthsocial.com/@realAlexJones
    Social1776: https://social1776.com/RealAlexJones            FreeTalk45: https://freetalk.app/RealAlexJones

         16.      The Book Rights owned by the Jones bankruptcy estate include the book rights and

royalty rights to The Great Reset: And the War for the World. The Debtor is party to a Publishing

Agreement (the “Publishing Agreement”), dated February 4, 2022, with Skyhorse Publishing Inc.

for the publication of the book. In connection with the Publishing Agreement, the Debtor has a

right to receive royalties from the sale of The Great Reset and has certain other subsidiary rights

related to the book, including a reversionary right to The Great Reset’s copyright. During the

Jones Chapter 11 Case, the Debtor filed a motion to assume the Publishing Agreement [Docket



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No. 368]. While a hearing regarding the motion was held on November 27, 2023, an order

approving the assumption of the Publishing Agreement was never entered.

        17.      The Videogame Rights owned by the Jones bankruptcy estate include all rights

Jones had as of the Petition Date in the videogame entitled Alex Jones: NOW Wars, including any

royalties related thereto. The Debtor is party to the Alex Jones Video Game Agreement (the

“Videogame Agreement”), dated February 22, 2022, with Mint Studios for the creation, marketing

and sale of the videogame.2

        18.      Upon the Petition Date, the bankruptcy estate’s rights and interests in the Social

Media Accounts, under the Publishing Agreement, and under the Videogame Agreement became

property of his estate.

        19.      On August 22, 2024, Trustee filed an application to employ Tranzon Asset

Advisors and ThreeSixty Asset Advisors (collectively, “Tranzon360”) to market, auction, and sell

the FSS Assets and assets of Jones’ bankruptcy estate [Docket No. 828]. On September 16, 2024,

the Court approved the application to employ Tranzon360 [Docket No. 844].

                                        REQUESTED RELIEF

        20.      The Trustee seeks authorization to auction and sell all right, title and interest owned

by the Debtor’s estate in the Jones IP Assets through the IP Assets Auction, which has been

authorized by the Court. The Trustee believes, in his reasonable business judgment, that the sale

of the estate’s interest in the Jones IP Assets along with the FSS IP Assets will enhance overall

bidding.

        21.      The Trustee accordingly seeks entry of an order substantially in the form attached

hereto (the “Proposed Order”), (i) approving and authorizing inclusion of the Jones estate’s


2 The Publishing Agreement and the Videogame Agreement are listed on Exhibit B attached hereto.



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interest in the Jones IP Assets in the IP Assets Auction (if any) and sale authorized by the

Winddown Order, including authorizing the Trustee to take all actions necessary to close the sale

of the Jones IP Assets according to the procedures set forth in the Winddown Order; (ii) approving

and authorizing the assumption and assignment of any agreements related to the Social Media

Accounts, and to the extent executory, the Videogame Agreement and the Publishing Agreement;3

and (iii) including the Jones IP Assets in the “IP Assets” category for the purposes of the

calculation and payment of the auctioneer compensation and reimbursement of expenses of

Tranzon360 (collectively the “Commission and Reimbursement”) which, for the avoidance of

doubt, are:

                             IP Assets               10% on proceeds $0-$500,000.00
                                                     7% on proceeds $500,000.01 to $2,000,000.00
                                                     5% on proceeds over $2,000,000.00
                             Remaining               15% of proceeds of the Remaining Assets
                             Assets
                             Expense                 Estimated to be between $70,000 and $75,000
                             Reimbursement


                                            BASIS FOR RELIEF

    I. The Court Should Approve the Sale of the Jones IP Assets

                  a.       The sale of the Jones IP Assets as part of the IP Assets Auction is a
                           sound exercise of the Trustee’s business judgment.

         22.      Section 704(a) of the Bankruptcy Code provides the duties of chapter 7 trustee, and

in particular directs the trustee “to collect and reduce to money the property of the estate for which

such trustee serves, and close such estate as expeditiously as is compatible with the best interests

of parties in interest.”4 Section 363(b)(1) of the Bankruptcy Code provides that a trustee, “after


3 The Contracts that the Trustee seeks to assume and assign (with respect to the Social Media Accounts) are listed on
  Exhibit A attached hereto.
4 11 U.S.C. § 704(a)(1).


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notice and a hearing, may use, sell or lease, other than in the ordinary course of business, property

of the estate.”5 Section 105(a) of the Bankruptcy Code permits a bankruptcy court to “issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title.”6

           23.     A trustee’s business judgment is entitled to substantial deference with respect to the

procedures to be used in selling an estate’s assets and when there is “some articulated business

justification for using, selling, or leasing the property outside the ordinary course of business.” 7

Once a trustee articulates a valid business justification, the court should review that request under

the business judgment rule.8 The business judgment rule protects certain trustee decisions from

reevaluation by a court with the benefit of hindsight.9 Thus, if a trustee’s actions satisfy the

business judgment rule, then the transaction in question should be approved under section

363(b)(1) of the Bankruptcy Code. The paramount goal in any proposed sale of property of the

estate is to maximize the proceeds received by the estate.10



5 11 U.S.C. § 363(b)(1).

6 11 U.S.C. § 105(a).

7 See, e.g., In re Continental Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986) (“[F]or a debtor-in-possession or
  trustee to satisfy its fiduciary duty to the debtor, creditors and equity holders, there must be some articulated business
  justification for using, selling, or leasing the property outside the ordinary course of business.”); In re Crutcher
  Resources Corp., 72 B.R. 628, 631 (Bankr. N.D. Tex. 1987) (“A Bankruptcy Judge has considerable discretion in
  approving a § 363(b) sale of property of the estate other than in the ordinary course of business but the movant must
  articulate some business justification for the sale.”).
8 See In re Gulf Coast Oil Corp., 404 B.R. 407, 415 (Bankr. S.D. Tex. 2009) (noting that a debtor in possession has
  the discretionary authority to exercise business judgment given to an officer or director of a corporation).
9 See Richmond Leasing Co. v. Capital Bank, N.A., 762 F. 2d 1303, 1311 (5th Cir. 1985) (“More exacting scrutiny
  would slow the administration of the debtor’s estate and increase its cost, interfere with the Bankruptcy Code’s
  provision for private control of administration of the estate, and threaten the court’s ability to control a case
  impartially.”).
10 See In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998) (“The purpose of procedural bidding orders is to
 facilitate an open and fair public sale de-signed to maximize value for the estate.”); In re Food Barn Stores, Inc.,
 107 F.3d 558, 564–65 (8th Cir. 1997) (in bankruptcy sales, “a primary objective of the Code [is] to enhance the
 value of the estate at hand”); In re Integrated Res., Inc., 147 B.R. 650, 659 (S.D.N.Y. 1992) (“[I]t is a well-
 established principle of bankruptcy law that the objective of the bankruptcy rules and the trustee’s duty with respect

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        24.      Here, the sale of the Jones IP Assets through the IP Assets Auction (if any) will

allow the Trustee to determine the highest or otherwise best price for the assets because of the

exposure to the market.11 The Trustee has received interest from multiple parties in purchasing

the Jones IP Assets, in particular, the Social Media Accounts. The sale of the Jones IP Assets will

lead to greater recoveries for Jones’ creditors. In addition, because of the exposure to the market,

the consideration obtained for the Jones IP Assets will be fair and reasonable and at or above

market price.

                 b.        The estate’s interest in the Social Media Accounts may be sold.

        25.      The estate’s interest in the Social Media Accounts may be sold by the Trustee, and

the Trustee requests authority to sell such interests.

        26.      Social media accounts have been recognized as valuable assets that may be sold.12

This is certainly true for individuals, like the Debtor, who use their social media accounts for

product promotion, content generation, and other commercially beneficial purposes. This Court

has treated social media accounts as property of a debtor’s estate and described them as akin to a

subscriber or customer list.13

        27.      In dicta, this Court reasoned that,

        the primary limitation on recognition of a persona as estate property is the 13th
        Amendment's prohibition on involuntary servitude. Just as a debtor may not assume
        contracts that would require any individual to perform personal services, … a


 to such sales is to obtain the highest price or greatest overall benefit possible for the estate.”) (internal citations
 omitted).
11 See Bank of Am. Nat’l Trust & Sav. Ass’n. v. LaSalle St. P’ship, 526 U.S. 434, 457 (1999); see also In re Trans
 World Airlines, Inc., No. 01-00056, 2001 WL 1820326, at *4 (Bankr. D. Del. 2001) (while a “sale transaction does
 not require an auction procedure,” “the auction procedure has developed over the years as an effective means for
 producing an arm’s length fair value transaction”).
12 See In re CTLI, LLC, 528 B.R. 356, 366–68 (Bankr. S.D. Tex. 2015).

13 Id. at 367–68 (citing In re Borders Grp., Inc., No. 11-10614 MG, 2011 Bankr. LEXIS 4606, at *13 (Bankr.
 S.D.N.Y. Sept. 27, 2011)).


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         debtor may not use estate property in a manner that would require any individual
         to perform personal services.14

Other courts outside the Fifth Circuit have recognized that the rise of the social media influencer

has changed the way in which courts must understand ownership of social media accounts.15 The

Vital Pharmaceuticals court observed that, “the social media influencer's account is, arguably,

itself the business, and that business is owned by the social media influencer—not the companies

whose products the influencer promotes.”16

         28.      Alex Jones’ Social Media Accounts are not the ordinary accounts of a private

citizen, and the sale of the Jones bankruptcy estate’s interests in the Social Media Accounts does

not require Alex Jones to perform any personal services that would otherwise violate the 13th

Amendment and does not constitute a sale or licensing of Jones’ persona. The Trustee only seeks

to sell the estate’s interests in the Social Media Accounts and is not seeking to compel Mr. Jones

to post content on such accounts or license the use of his persona. Importantly, the Social Media

Accounts are primarily used by the Debtor to promote the Infowars brand, its broadcasts, Jones’

books and the videogame. The Social Media Accounts are therefore integral to the business of

FSS, to Jones’ role in furthering that business, and to the Jones estate’s business interests as well.




14 Id. at 367 (citing Matter of Tonry, 724 F.2d 467, 469 (5th Cir. 1984)). The Court specifically noted that, while a
 property interest in an individual profile might not ordinarily become property of the debtor’s estate, “the official
 page of a celebrity or public figure that is managed by employees might be treated differently.” Id. (citing Melissa
 B. Jacoby & Diane Leenheer Zimmerman, Foreclosing on Fame: Exploring the Uncharted Boundaries of the Right
 of Publicity, 77 N.Y.U. L. Rev. 1322, 1347-57 (2002)).
15 See In re Vital Pharm., 652 B.R. 392 (Bankr. S.D. Fla. 2023) (developing a framework for determining whether
 the social media influencer or the company promoted has ownership rights in a social media account). The holding
 of the Vital Pharmaceuticals case is largely inapplicable to the instant case because there is no argument about
 whether FSS or Jones owns the Social Media Accounts. Regardless of which is properly the owner of the Social
 Media Accounts, there is a property interest in the accounts that may be sold.
16 Id. at 407.


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Therefore, the estate’s interests in the Social Media Accounts are valuable assets that the Trustee

reasonably believes should be sold in the IP Assets Auction.

                 c.       The estate’s rights and interests in and pursuant to the Publishing
                          Agreement may be sold.

        29.       The Publishing Agreement is non-executory, and the estate’s rights and interests

in and arising from the Publishing Agreement may be sold and assigned without assumption. “[A]

contract is executory if ‘performance remains due to some extent on both sides’ and if ‘at the time

of the bankruptcy filing, the failure of either party to complete performance would constitute a

material breach of the contract, thereby excusing the performance of the other party.’”17 “[T]he

test for an executory contract is whether, under the relevant state law governing the contract, each

side has at least one material unperformed obligation as of the bankruptcy petition date.”18

        30.      The Debtor transferred the copyright to the publisher under the Publishing

Agreement, subject to certain reversionary rights held by the Debtor in the copyright for the book.

To the Trustee’s knowledge, Jones’ obligations under the Publishing Agreement have been

performed, and he no longer has any material obligations under such agreement.                      The estate’s

interests include the right to receive continued royalty payments under the Publishing Agreement.

The Trustee seeks to auction and sell the rights Jones’ bankruptcy estate has under the Publishing

Agreement.




17 Argonaut Ins. Co. v. Falcon V, L.L.C. (In re Falcon V, L.L.C.), 44 F.4th 348, 352 (5th Cir. 2022) (quoting In re
 Provider Meds., 907 F.3d 845, 851 (5th Cir. 2018) (citations omitted)).
18 In re Weinstein Co. Holdings LLC, 997 F.3d 497, 504 (3d Cir. 2021).


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                 d.       The estate’s rights and interests in and pursuant to the Videogame
                          Agreement may be sold.

        31.      The Videogame Agreement is also non-executory, and the estate’s rights and

interests in and arising from the Videogame Agreement may be sold and assigned without

assumption.19

        32.      No performance obligations remain for the Debtor’s estate. For the avoidance of

doubt, while the Videogame Agreement is, in part, a license to use the Debtor’s likeness and image

in the videogame, the Trustee is not attempting to sell any right to use his likeness and image by

selling the rights and interests under the Videogame Agreement. The Trustee is only requesting

authority to auction and sell whatever interests are owned by the Debtor’s estate, which include

the right to receive a stream of royalty payments under the Videogame Agreement. Therefore, the

Trustee believes the estate’s rights and interests under the Videogame Agreement have economic

value to the Debtor’s estate and, in the Trustee’s reasonable business judgment, should be sold.

                 e.       The Trustee seeks to assume and assign the executory contracts
                          associated with the Social Media Accounts, and, in the alternative to
                          the relief requested in section I(c) and I(d) supra, the Publishing
                          Agreement and the Videogame Agreement.

        33.      To the extent that the Social Media Accounts are governed by terms and conditions

that are executory contracts, and to the extent that the Videogame Agreement and the Publishing

Agreement are determined by the Court to be executory contracts, the Trustee seeks to assume and

assign, in connection with the sale of the Jones IP Assets, such agreements to the successful

bidder(s) at the IP Assets Auction (if any). For the avoidance of doubt, the Trustee does not believe

the Videogame Agreement and the Publishing Agreement are executory and only seeks relief in

this section with respect to those agreements in the alternative.



19 See Falcon V, 44 F.4th at 352.


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         34.      Section 365 of the Bankruptcy Code authorizes a trustee to assume and/or assign

an estate’s executory contracts and unexpired leases, subject to approval of the court, provided that

the defaults under such contracts and leases are cured and adequate assurance of future

performance is provided. The Trustee’s decision to assume or reject an executory contract or

unexpired lease must only satisfy the “business judgment rule” and will not be subject to review

unless such decision is clearly an unreasonable exercise of such judgment.20

         35.      The Trustee further requests that any party that fails to object to the proposed

assumption and assignment of executory contracts be deemed to consent to such assumption and

assignment pursuant to section 365 of the Bankruptcy Code on the terms set forth in the proposed

order.21

         36.      Here, the Court should approve the decision to assume and assign the contracts, to

the extent they are executory, in connection with the sale of the Jones IP Assets. The assumption

and assignment is a sound exercise of the Trustee’s business judgment. The contracts are essential

to the value of the Jones IP Assets and therefore essential to achieve the highest or otherwise best

offer for the Jones IP Assets. It is unlikely that any purchaser would acquire the Jones IP Assets

unless they were certain the contracts were included in the transaction.

         37.      Upon finding that a debtor has exercised its business judgment in determining that

assuming an executory contract is in the best interest of its estate, courts must then evaluate

whether the assumption meets the requirements of section 365(b) of the Bankruptcy Code,

specifically that a debtor (a) cure, or provide adequate assurance of promptly curing, prepetition



20 See, e.g., Richmond Leasing, 762 F.2d at 1309 (applying a business judgment standard to debtor’s determination
 to assume unexpired lease).
21 See, e.g., In re Tabone, Inc., 175 B.R. 855, 858 (Bankr. D.N.J. 1994) (by not objection to sale motion, creditor was
 deemed to consent); Pelican Homestead v. Wooten (In re Gabel), 61 B.R. 661, 667 (Bankr. W.D. La. 1985) (same).


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defaults in the executory contract, (b) compensate parties for pecuniary losses arising therefrom,

and (c) provide adequate assurance of future performance thereunder.22

        38.      The statutory requirements of section 365(b)(1)(A) of the Bankruptcy Code will be

satisfied because there are no defaults that must be cured under the contracts. Similarly, the third

requirement of 365(b)(1)(A) of the Bankruptcy Code—adequate assurance of future

performance—is also satisfied given the facts and circumstances present here. “The phrase

‘adequate assurance of future performance’ adopted from section 2-609(1) of the Uniform

Commercial Code, is to be given a practical, pragmatic construction based upon the facts and

circumstances of each case.”23 Although no single solution will satisfy every case, “the required

assurance will fall considerably short of an absolute guarantee of performance.” 24 Among other

things, adequate assurance may be given by demonstrating the assignee’s financial health and

experience in managing the type of enterprise or property assigned.25

        39.      As part of the bidding procedures proposed in the Winddown Order, the Trustee

will evaluate the financial wherewithal of potential bidders before designating such party a

qualified bidder in the IP Assets Auction. This requires assessing the financial credibility,

willingness, and ability of the interested party to perform under any assigned contracts. In addition,

none of the contracts the Trustee proposes to assign require any financial performance from an

assignee. The Court therefore has a sufficient basis to authorize the estate’s assumption of the




22 See In re Luce Indus., Inc., 8 B.R. 100, 107 (Bankr. S.D.N.Y. 1980).

23 In re U.L. Radio Corp., 19 B.R. 537, 542 (Bankr. S.D.N.Y. 1982).

24 In re Prime Motor Inns, Inc., 166 B.R. 993, 997 (Bankr. S.D. Fla. 1994).

25 See In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (adequate assurance of future performance
 present where a prospective assignee has financial resources and has expressed a willingness to devote sufficient
 funding to a business to give it a strong likelihood of succeeding).


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contracts, to the extent they are executory, and assign the contracts to the successful bidder at the

IP Assets Auction.

    II. The Court Should Approve the Trustee’s Entry into Purchase Agreement(s) as an
        Exercise of Sound Business Judgment.

        40.      As noted above, the business judgment rule shields a trustee or debtor-in-

possession’s decisions from judicial second-guessing.26 Once a trustee articulates a valid business

justification, the court should review that request under the business judgment rule.27 The business

judgment rule protects certain decisions—such as the Trustee’s entry into a purchase agreement—

from reevaluation by a court with the benefit of hindsight.28 If a trustee’s actions satisfy the

business judgment rule, then the transaction in question should be approved under section

363(b)(1) of the Bankruptcy Code. Based on this rationale, courts have authorized a trustee’s sale

of assets as a sound exercise of business judgment under section 363 of the Bankruptcy Code.

        41.      The Trustee has set forth a sound business justification for selling the Jones IP

Assets. The Trustee has a duty to maximize the value of the Debtor’s estate. The Trustee and his

advisors have received interest in the Jones IP Assets from several parties but desires to explore a

more comprehensive marketing process for the sale of the Jones IP Assets in order to achieve the

highest value and best offer for the FSS Assets and the Jones IP Assets, which is in the best interests

of the Debtor’s estate. The sale of the Jones IP Assets will be subject to the “market check” of the




26 Comm. of Asbestos-Related Litigants v. Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 615–16
 (Bankr. S.D.N.Y. 1986) (a “presumption of reasonableness attaches to a debtor’s management decisions” and courts
 generally will not entertain objections to the debtor’s conduct after a reasonable basis is set forth).
27 See In re Gulf Coast Oil Corp., 404 B.R. 407, 415 (Bankr. S.D. Tex. 2009) (noting that a debtor in possession has
 the discretionary authority to exercise business judgment given to an officer or director of a corporation).
28 See Richmond Leasing Co. v. Capital Bank, N.A., 762 F. 2d 1303, 1311 (5th Cir. 1985) (“More exacting scrutiny
 would slow the administration of the debtor’s estate and increase its cost, interfere with the Bankruptcy Code’s
 provision for private control of administration of the estate, and threaten the court’s ability to control a case
 impartially.”).


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IP Assets Auction (if any) and will constitute, in the Trustee’s reasonable business judgment, the

highest or otherwise best offers for the Assets and will provide a greater recovery for the Debtor’s

estate than any known or practicably available alternative.29

         42.      The purchase agreement, as applicable, of any successful bidder will constitute the

highest or otherwise best offer for the Jones IP Assets, which will provide a greater recovery than

would be provided by any other available alternative. The Trustee’s determination to sell the Jones

IP Assets through live auction processes and to enter into a purchase agreement with the successful

bidder for such assets will be a valid and sound exercise of the Trustee’s business judgment. The

Trustee requests that the Court accordingly authorize the proposed sale as a proper exercise of the

Trustee’s business judgment and pursuant to the procedures set forth in the Winddown Order.

    III. Sale Should Be Approved Free and Clear Under Section 363(f) of the Bankruptcy
         Code.

         43.      Section 363(f) of the Bankruptcy Code permits a debtor to sell property free and

clear of another party’s interest in the property if: (a) applicable nonbankruptcy law permits such

a free and clear sale; (b) the holder of the interest consents; (c) the interest is a lien and the sale

price of the property exceeds the value of all liens on the property; (d) the interest is the subject of

a bona fide dispute; or (e) the holder of the interest could be compelled in a legal or equitable

proceeding to accept a monetary satisfaction of its interest.30

         44.      Section 363(f) of the Bankruptcy Code is drafted in the disjunctive. Thus,

satisfaction of any of the requirements enumerated therein will suffice to warrant the sale of the

Assets free and clear of all liens, security interests, pledges, charges, defects, or similar


29 See, e.g., In re Trans World Airlines, Inc., No. 01-00056, 2001 WL 1820326, at *4 (Bankr. D. Del. 2001) (while a
 “section 363(b) sale transaction does not require an auction procedure . . . the auction procedure has developed over
 the years as an effective means for producing an arm’s length fair value transaction.”).
30 See 11 U.S.C. § 363(f).


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encumbrances (collectively, “Encumbrances”), except with respect to any Encumbrances that

may be assumed Encumbrances under the purchase agreement of a successful bidder.31

         45.      For the avoidance of doubt, the Trustee does not believe any party has a lien on the

Jones IP Assets. However, any Encumbrance that will not be an assumed liability satisfies or will

satisfy at least one of the five conditions of section 363(f) of the Bankruptcy Code, and any such

Encumbrance will be adequately protected by either being paid in full at the time of closing, or by

having it attach to the net proceeds of the sale, subject to any claims and defenses the Trustee or

the Debtor’s estate, may possess with respect thereto. The Trustee requests authority to convey

the Jones IP Assets to the respective successful bidders free and clear of all Encumbrances

including liens, claims, rights, interests, charges, and encumbrances, with any such liens, claims,

rights, interests, charges, and encumbrances to attach to the proceeds of the sale and to be held

until further determination of this Court.

    IV. Administrative Costs of the Sale Should Be Approved.

         46.      The Trustee requests that Tranzon360’s Commission and Reimbursement should

be applied to the purchase price attributable to the Jones IP Assets and be approved as

administrative expenses under section 503(b)(1)(A) of the Bankruptcy Code and paid from the

proceeds of any sales of the Jones IP Assets at closing.                       Tranzon360’s Commission and

Reimbursement constitutes an “actual and necessary cost of preserving the estate” because their

services to market, auction, and sell the Jones IP Assets materially benefit the Debtor’s estate by

achieving the highest or otherwise best offer for the Assets.32 Therefore, the Trustee requests that




31 See In re Kellstrom Indus., Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002) (“[I]f any of the five conditions are met,
 the debtor has the authority to conduct the sale free and clear of all liens.”).
32 11 U.S.C. § 503(b)(1)(A).


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the Court approve the terms of Tranzon360’s Commission and Reimbursement and authorize the

Trustee to pay Tranzon360 from the proceeds of the sale of the Jones IP Assets.

                                            DISCLAIMER

        47.     For the avoidance of doubt, the Jones IP Assets only include those assets that the

Debtor’s estate actually owns. The description or listing of any Jones IP Assets herein is not

intended to be a warranty or representation of the estate’s right, title, or interest in or to such assets.

It is the Trustee’s understanding that certain of the Jones IP Assets are subject to challenges as to

their transferability. The sale and transfer of the Jones IP Assets are therefore subject to the risk

that one or more of the Jones IP Assets may ultimately be deemed non-transferable under

applicable non-bankruptcy law.

                               BASIS FOR EMERGENCY RELIEF

        48.      The Trustee has requested emergency relief pursuant to Local Rule 9013-1, and

such relief is needed as of October 25, 2024, in order to include the Jones IP Assets in the

marketing process sufficiently far in advance of bid deadline under the Winddown Order

(November 8, 2024) for potential bidders to meaningfully assess the value and submit bids for the

Jones IP Assets. Absent emergency relief, the Trustee and Tranzon360 will be forced to market

the Jones IP Assets on a truncated timeline or sell the Jones IP Assets separately from the IP Assets

Auction, which will very likely reduce the price for the Jones IP Assets, as parties have been

interested in purchasing packages of FSS and Jones intellectual property assets rather than

purchasing them piecemeal. Therefore, the Trustee reasonably believes that delay will only harm

the Debtor’s estate.

                 WAIVER OF BANKRUPTCY RULES 6004(A) and 6004(H)

        49.     To implement the foregoing successfully, the Trustee requests that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

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that the Trustee has established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                             NOTICE

       50.     The Trustee will provide notice of this Motion to the following parties or their

counsel: (a) the United States Trustee for the Southern District of Texas; (b) counsel for the

Debtor; (c) counsel for the Sandy Hook Families; (d) the holders of the 20 largest unsecured

claims against the Debtor; (e) the Office of the United States Attorney for the Southern District

of Texas; (f) the Texas state attorney general; (g) the Internal Revenue Service; (h) all known

holders of liens, encumbrances, and other claims secured by the Assets; (i) each governmental

agency that is an interested party with respect to the sale and transactions proposed thereunder;

(j) any party that has requested notice pursuant to Bankruptcy Rule 2002; and (k) any other party

entitled to notice pursuant to Bankruptcy Local Rule 9013-1(d). In light of the nature of the relief

requested, no further notice is required.

                                            CONCLUSION

       WHEREFORE, the Trustee respectfully request entry of the Proposed Order (i) authorizing

the Trustee to sell the Jones IP Assets in connection with the winddown of FSS and the auction

and sale of the non-cash assets of FSS; (ii) authorizing the assumption and assignment of the

contracts listed on Exhibit A hereto to the extent executory; and (iii) granting such other and further

relief as may be just and proper.

Dated: October 15, 2024
       Houston, Texas


                                                           Respectfully submitted,

                                                   By: /s/ Joshua W. Wolfshohl
                                                      Joshua W. Wolfshohl (Bar No. 24038592)
                                                      Michael B. Dearman (Bar No. 24116270)

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                                            Kenesha L. Starling (Bar No.24114906)
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                                            and

                                            Erin E. Jones (TX 24032478)
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                                            Fax: (832) 529-3393
                                            erin@jonesmurray.com

                                            Counsel for Christopher R. Murray, Chapter
                                            7 Trustee




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                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a copy of the foregoing document was served on
October 15, 2024 on all parties receiving ECF service in the above-captioned case and by U.S.
First-Class Mail, postage prepaid on the attached service list and the parties listed on Exhibit A
and Exhibit B attached hereto.

                                                    /s/ Joshua W. Wolfshohl
                                                    Joshua W. Wolfshohl




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Label Matrix for local noticing             Ally Bank                                   Ally Bank, c/o AIS Portfolio Services, LLC
0541-4                                      c/o Quilling, Selander, et al               4515 N Santa Fe Ave. Dept. APS
Case 22-33553                               2001 Bryan Street                           Oklahoma City, OK 73118-7901
Southern District of Texas                  Suite 1800
Houston                                     Dallas, TX 75201-3070
Wed Aug 21 20:24:12 CDT 2024
American Express National Bank              Bank of America N.A.                        Crowe & Dunlevy
c/o Becket and Lee LLP                      P.O. BOX 31785                              2525 McKinnon St
PO Box 3001                                 Tampa, FL 33631-3785                        Suite 425
Malvern, PA 19355-0701                                                                  Dallas, TX 75201-1543


Elevated Solutions Group, LLC               Free Speech Systems, LLC                    Jones Murray LLP
c/o Walker & Patterson, P.C.                Free Speech Systems, LLC                    602 Sawyer Suite 400
P.O. Box 61301                              c/o Patrick Magill                          Houston, Tx 77007-7510
Houston, TX 77208-1301                      3019 Alvin Devane Blvd.
                                            Ste 300
                                            Austin,, TX 78741-7417
Martin, Disiere, Jefferson & Wisdom, LLP    Official Committee Of Unsecured Creditors   PQPR Holdings Limited, LLC
808 Travis, Suite 1100                      c/o Marty L. Brimmage, Jr.                  c/o Streusand Landon Ozburn & Lemmon LLP
Houston, TX 77002-5831                      Akin Gump Strauss Hauer & Feld LLP          attn: Stephen Lemmon
                                            2300 N. Field Street, Suite 1800            1801 S. Mopac Expressway
                                            Dallas, TX 75201-4675                       Suite 320
                                                                                        Austin, TX 78746-9817
Reeves Law, PLLC                            Reynal Law Firm, P.C.                       Security Bank of Texas
702 Rio Grande St., Suite 203               917 Franklin St., Suite 600                 P.O. Box 90
Austin, TX 78701-2720                       Houston, TX 77002-1764                      Crawford, Tx 76638-0090



Travis County                               4                                           ADP Total Source Insurance
c/o Jason A. Starks                         United States Bankruptcy Court              10200 Sunset Drive
P.O. Box 1748                               PO Box 61010                                Miami, FL 33173-3033
Austin, TX 78767-1748                       Houston, TX 77208-1010


ADP TotalSource Payroll                     AT&T                                        AWIO Web Services LLC
10200 Sunset Drive                          PO Box 5001                                 6608 Truxton Ln
Miami, FL 33173-3033                        Carol Stream, IL 60197-5001                 Raleigh, NC 27616-6694



Addshoppers, Inc                            Airco Mechanical, LTD                       Alex E. Jones
222 S. Church Street , #410M                PO Box 1598                                 c/o Crowe & Dunlevy, PC
Charlotte, NC 28202-3213                    Round Rock, TX 78680-1598                   Attn: Vickie L. Driver
                                                                                        2525 McKinnon Street, Ste 425
                                                                                        Dallas, TX 75201-1543

Alex E. Jones                               Ally Auto                                   Amazon Marketplace
c/o Jordan & Ortiz, PC                      PO Box 9001948                              Amazon Payments, Inc.
Attn: Shelby Jordan                         Louisville, KY 40290-1948                   410 Terry Ave N.
500 North Shoreline Blvd, Ste 900                                                       Seattle, WA 98109-5210
Corpus Christi, TX 78401-0658

Amazon Web Services                         American Express                            American Media/Reality Zone
410 Terry Avenue North                      PO Box 650448                               PO Box 4646
Seattle, WA 98109-5210                      Dallas, TX 75265-0448                       Thousand Oaks, CA 91359-1646
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Andrews, Christopher                      Atomial, LLC                          Balcones Recycling Inc.
210 N. Beyer Street                       1920 E. Riverside Drive               PO Box 679912
Marion, TX 78124-4014                     Suite A-120 #124                      Dallas, TX 75267-9916
                                          Austin, TX 78741-1350


Biodec, LLC                               Blott, Jacquelyn                      Brennan Gilmore
901 S. Mopac Expressway,                  200 University Boulevard              c/o Civil Rights Clinic
Building 4, Ste 285                       Suite 225 #251                        Attn Andrew Mendrala
Austin, TX 78746-5776                     Round Rock TX 78665-1096              600 New Jersey Avenue, NW
                                                                                Washington, DC 20001-2022

Campco                                    Carlee Soto-Parisi                    Carlos Soto
4625 W. Jefferson Blvd                    c/o Ryan Chapple                      c/o Ryan Chapple
Los Angeles, CA 90016-4006                Cain & Skarnulis                      Cain & Skarnulis
                                          303 Colorado Street, Ste 2850         303 Colorado Street, Ste 2850
                                          Austin, TX 78701-0137                 Austin, TX 78701-0137

Chamberlain Hrdlicka White et al          Chelsea Green Publishing              Christopher Sadowski
Attn Jarrod B. Martin                     85 North Main Street Ste 120          c/o Copycat Legal PLLC
1200 Smith Street, Ste 1400               White River Junction, VT 05001-7135   3111 N. University Drive Ste. 301
Houston, TX 77002-4496                                                          Coral Springs, FL 33065-5058


City of Austin                            Cloudflare, Inc                       Constant Contact, Inc.
c/o Austin Energy                         Dept LA 24609                         1601 Trapelo Road
4815 Muller                               Pasadena, CA 91185-4609               Watham, MA 02451-7357
Austin, TX 78723


CustomTattooNow.com                       David Icke Books Limited              De Lage Financial
16107 Kensington Dr #172                  c/o Ickonic Enterprises Limited       Attn Litigation & Recovery
Sugar Land, TX 77479-4224                 St. Helen’s House King Street         111 Old Eagle School Road
                                          Derby DE1 3EE                         Wayne, PA 19087-1453
                                          United Kingdom

Deese, Stetson                            DirectTV                              Donna Soto
328 Greenland Blvd. #81                   PO Box 006                            c/o Ryan Chapple
Death Valley, CA 92328-9600               Carol Stream, IL 60197                Cain & Skarnulis
                                                                                303 Colorado Street, Ste 2850
                                                                                Austin, TX 78701-0137

EPS, LLC                                  ERM Protect                           Edgecast, Inc.
17350 State Hwy 249, Ste 220, #4331       800 South Douglas Road, Suite 940N    Dept CH 18120
Houston, TX 77064-1132                    Coral Gables, FL 33134-3125           Palatine, IL 60055-0001



Elevated Solutions Group                  Erica L. Ash                          Erica Lafferty
28 Maplewood Drive                        c/o Ryan Chapple                      c/o Rosemarie Paine
Cos Cob, CT 06807-2601                    Cain & Skarnulis PLLC                 350 Orange Street
                                          303 Colorado St., Suite 2850          New Haven, CT 06511-6447
                                          Austin, Texas 78701-0137

Erica Lafferty                            FW Robert Broadcasting Co             Francine Wheeler
c/o Ryan Chapple                          2730 Loumor Ave                       c/o Ryan Chapple
Cain & Skarnulis                          Metairie, LA 70001-5425               Cain & Skarnulis
303 Colorado Street, Ste 2850                                                   303 Colorado Street, Ste 2850
Austin, TX 78701-0137                                                           Austin, TX 78701-0137
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Free Speech Systems, LLC                    Frost Insurance Agency              Gabriela Tolentino
3019 Alvin Devane, Suite 350                401 Congress Avenue, 14th Floor     5701 S Mopac Expy
Austin, Texas 78741-7424                    Austin ,TX 78701-3793               Austin, TX 78749-1464



Getty Images, Inc                           Gracenote                           Greenair, Inc
PO Box 953604                               29421 Network Place                 23569 Center Ridge Road
St. Louis, MO 63195-3604                    Chicago, IL 60673-1294              Westlake, OH 44145-3642



Haivision Network Video                     Ian Hockley                         Impact Fire Services, LLC
Deot CH 19848                               c/o Ryan Chapple                    PO Box 735063
Palatine, IL 60055-9848                     Cain & Skarnulis                    Dallas, TX 75373-5063
                                            303 Colorado Street, Ste 2850
                                            Austin, TX 78701-0137

Independent Publishers Group                Internal Revenue Service            Iron Mountain, Inc
PO Box 2154                                 Centralized Insolvency Operations   PO Box 915004
Bedford Park, IL 60499-2154                 PO Box 7346                         Dallas, TX 75391-5004
                                            Philadelphia, PA 19101-7346


JCE SEO                                     JW JIB Productions, LLC             Jacqueline Barden
6101 Broadway                               2921 Carvelle Drive                 c/o Ryan Chapple
San Antonio, TX 78209-4561                  Riviera Beach, FL 33404-1855        Cain & Skarnulis
                                                                                303 Colorado Street, Ste 2850
                                                                                Austin, TX 78701-0137

Jennifer Hensel                             Jeremy Richman                      Jillian Soto-Marino
c/o Ryan Chapple                            c/o Koskoff Koskoff & Bieder        c/o Ryan Chapple
Cain & Skarnulis                            350 Fairfield Ave                   Cain & Skarnulis
303 Colorado Street, Ste 2850               Bridgeport, CT 06604-6014           303 Colorado Street, Ste 2850
Austin, TX 78701-0137                                                           Austin, TX 78701-0137

Justin Lair                                 KI4U.com                            Kaster Lynch Farrar & Ball
1313 Lookout Ave                            212 Oil Patch Lane                  Attn Mark D. Bankston
Klamath Falls, OR 97601-6533                Gonzales, TX 78629-8028             1117 Herkimer
                                                                                Houston, TX 77008-6745


(p)DE LAGE LANDEN FINANCIAL                 Koskoff Koskoff & Bieder            LIT Industrial
ATTN LITIGATION & RECOVERY                  Attn Alinor C. Sterling             1717 McKinney Ave #1900
1111 OLD EAGLE SCHOOL ROAD                  350 Fairfield Ave                   Dallas, TX 75202-1253
WAYNE PA 19087-1453                         Bridgeport, CT 06604-6002


Leonard Pozner                              Lincoln-Remi Group, LLC             Logo It, LLC
c/o Avi Moshenberg                          1200 Benstein Rd.                   820 Tivy Street
McDowell Hetherington                       Commerce Twp., MI 48390-2200        Kerrville, TX 78028-3654
1001 Fannin Street, Ste 2700
Houston, TX 77002-6774

Lumen/Level 3 Communications                MRJR Holdings, LLC                  MVD Entertainment Group
PO Box 910182                               PO Box 27740                        203 Windsor Rd
Denver, CO 80291-0182                       Las Vegas, NV 89126-7740            Pottstown, PA 19464-3405
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Magento                                   Mark Barden                             Microsoft Bing Ads
PO Box 204125                             c/o Ryan Chapple                        c/o Microsoft Online, Inc.
Dallas, TX 75320-4105                     Cain & Skarnulis                        P.O. Box 847543
                                          303 Colorado Street, Ste 2850           1950 N Stemmons Fwy, Ste 5010
                                          Austin, TX 78701-0137                   Dallas, TX 75207-3199

Miller, Sean                              Music Videos Distributors               Neil Heslin
PO Box 763                                203 Windsor Rd                          c/o Avi Moshenberg
Wyalusing, PA 18853-0763                  Pottstown, PA 19464-3405                McDowell Hetherington
                                                                                  1001 Fannin Street, Ste 2700
                                                                                  Houston, TX 77002-6774

NetSuite Inc                              New Relic                               Newegg.com
Bank of America Lockbox Services          188 Spear Street, Suite 1200            9997E. Rose Hills Road
Chicago, IL 60693-0001                    San Francisco, CA 94105-1752            Whittier, CA 90601-1701



Nicole Hockley                            One Party America, LLC                  Orkin, Inc.
c/o Ryan Chapple                          6700 Woodlands Parkway, Suite 230-309   5810 Trade Center Drive, Suite 300
Cain & Skarnulis                          The Woodlands, TX 77382-2575            Austin, TX 78744-1365
303 Colorado Street, Ste 2850
Austin, TX 78701-0137

PQPR Holdings Limited, LLC                Payarc                                  Paymentus
c/o Stephen Lemmon                        411 West Putnam Avenue, Ste 340         18390 NE 68th St
1801 S. Mopac Expressway                  Greenwich, CT 06830-6233                Redmond, WA 98052-5057
Suite 320
Austin, TX 78746-9817

Perfect Imprints.com                      Perkins, Wes                            Pipe Hitters Union, LLC
709 Eglin Pkwy NE                         General Delivery                        PO Box 341194
Fort Walton Beach, FL 32547-2527          Lockhart, TX 78644-9999                 Austin, TX 78734-0020



Post Hill Press, LLC                      Poulsen, Debra                          Power Reviews, Inc.
8115 Isabella Lane, Ste. 4                112 Eames St.                           1 N. Dearborn Street
Brentwood, TN 37027-9110                  Elkhorn, WI 53121-1228                  Chicago, IL 60602-4331



Precision Oxygen                          Precision Camera                        Private Jets, LLC
13807 Thermal Dr                          2438 W Anderson Ln                      1250 E. Hallandale Beach Blvd, Suite 505
Austin, TX 78728-7735                     Austin, TX 78757-1149                   Hallandale, FL 33009-4635



Protection 1 Alarm                        Public Storage                          Randazza Legal Group, PLLC
PO Box 219044                             2301 E. Ben White Blvd                  2764 Lake Sahara Drive, Suite 109
Kansas City, MO 64121-9044                Austin, TX 78741-7110                   Las Vegas, NV 89117-3400



RatsMedical.com                           Ready Alliance Group, Inc               Reeves Law, PLLC
c/o Rapid Medical                         PO Box 1709                             Attn Bradley Reeves
120 N Redwood Rd                          Sandpoint, ID 83864-0901                702 Rio Grande St., Ste 203
North Salt Lake, UT 84054-2792                                                    Austin, TX 78701-2720
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Renaissance                              Restore America                       Richard Coan
PO Box 8036                              PO Box 147                            Chapter 7 Trustee for Debtor Erica Laffe
Wisconsin Rapids, WI 54495-8036          Grimsley, TN 38565-0147               c/o Eric Henry
                                                                               10 Middle Street
                                                                               Bridgeport, CT 06604-4257

Robert Parker                            SLNT                                  Scarlett Lewis
c/o Ryan Chapple                         30 N Gould St, Ste 20647              c/o Avi Moshenberg
Cain & Skarnulis                         Sheridan, WY 82801-6317               McDowell Hetherington
303 Colorado Street, Ste 2850                                                  1001 Fannin Street, Ste 2700
Austin, TX 78701-0137                                                          Houston, TX 77002-6774

Security Bank of Crawford                Simon & Schuster                      SintecMedia NYC, Inc. DBA Operative
PO Box 90                                PO Box 70660                          PO Box 200663
Crawford, TX 76638-0090                  Chicago, IL 60673-0660                Pittsburgh, PA 15251-2662



Skousen, Joel                            Skyhorse Publishing                   Sparkletts & Sierra Springs
PO Box 565                               307 West 36th Street, 11th Floor      PO Box 660579
Spring City, UT 84662-0565               New York, NY 10018-6592               Dallas, TX 75266-0579



Spectrum Enterprise                      Stamps.com                            Stone Edge Technologies, Inc
aka Time Warner Cable                    1990 E Grand Ave.                     660 American Avenue, Suite 204
1600 Dublin Road                         El Segundo, CA 90245-5013             King of Prussia, PA 19406-4032
Columbus, OH 43215-2098


Stratus Technologies                     Studio 2426, LLC                      Synergy North America, Inc
5 Mill & Main Place, Suite 500           1920 E. Riverside Drive, Suite A120   11001 W. 120th Avenue, Suite 400
Maynard, MA 01754-2660                   Austin, TX 78741-1350                 Broomfield, CO 80021-3493



TD Canada Trust                          Texas Comptroller                     Texas Disposal Systems, Inc
421 7th Avenue SW                        PO Box 13003                          PO Box 674090
Calgary, AB T2P 4K9, Canada              Austin, TX 78711-3003                 Dallas, TX 75267-4090



Texas Gas Service                        Textedly                              The Creative Group
PO Box 219913                            133 N. Citrus Ave., Suite 202         c/o Robert Half
Kansas City, MO 64121-9913               Los Angeles, CA 90036                 2884 Sand Hill Road, Ste 200
                                                                               Menlo Park, CA 94025-7072


The Estate of Marcel Fontaine            The Hartford                          The Steam Team, Inc
c/o McDowell Hetherington LLP            PO Box 14219                          1904 W. Koeing Lane
Attn Avi Moshenberg                      Lexington, KY 40512-4219              Austin, TX 78756-1211
100 Fannin, Ste 2700
Houston, TX 77002-1915

Third Coast Graphics, Inc                Thomas, David                         Travelers
110 Del Monte Dr.                        79 Malone Hill Road                   PO Box 660317
Friendswood, TX 77546-4487               Elma, WA 98541-9206                   Dallas, TX 75266-0317
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Travis County                               U.S. Legal Support                    U.S. Trustee’s Office
PO Box 149328                               PO Box 4772                           515 Rusk Avenue, Suite 3516
Austin, TX 78714-9328                       Houston, TX 77210-4772                Houston, Texas 77002-2604



US Trustee                                  Uline Shipping Supply                 Vazquez, Valdemar Rodriguez
Office of the US Trustee                    12575 Uline Drive                     145 Quail Ridge Drive
515 Rusk Ave                                Pleasant Prarie, WI 53158-3686        Kyle TX 78640-9788
Ste 3516
Houston, TX 77002-2604

Verizon                                     Verizon Edgecast                      Veronique De La Rosa
PO Box 660108                               13031 West Jefferson Blvd, Bldg 900   c/o Avi Moshenberg
Dallas, TX 75266-0108                       Los Angeles, CA 90094-7002            McDowell Hetherington
                                                                                  1001 Fannin Street, Ste 2700
                                                                                  Houston, TX 77002-6774

Vultr                                       WMQM-AM 1600                          WWCR
14 Cliffwood Avenue, Suite 300              21 Stephen Hill Road                  1300 WWCR Avenue
Matawan, NJ 07747-3931                      Atoka, TN 38004-7183                  Nashville, TN 37218-3800



Waste Connections Lone Star, Inc.           Water Event-Pure Water Solutions      Watson, Paul
PO Box 17608                                1310 Missouri St                      9 Riverdale Road
Austin, TX 78760-7608                       South Houston, TX 77587-4537          Ranmoor Sheffield
                                                                                  South Yorkshire S10 3FA
                                                                                  United Kingdom

Westwood One, LLC                           Wheeler, David                        William Aldenberg
3542 Momentum Place                         c/o Ryan Chapple                      c/o Ryan Chapple
Chicago, IL 60689-5335                      Cain & Skarnulis                      Cain & Skarnulis
                                            303 Colorado Street, Ste 2850         303 Colorado Street, Ste 2850
                                            Austin, TX 78701-0137                 Austin, TX 78701-0137

William Sherlach                            Willow Grove Productions              Wisconsin Dept. of Revenue
c/o Ryan Chapple                            1810 Rockcliff Road                   PO Box 3028
Cain & Skarnulis                            Austin, TX 78746-1215                 Milwaukee, WI 53201-3028
303 Colorado Street, Ste 2850
Austin, TX 78701-0137

Your Promotional Products, LLC              Zendesk, Inc                          Zoom US
133 North Friendswood Ste 186               989 Market Street                     55 Almaden Blvd, 6th Floor
Friendswood, TX 77546-3746                  San Francisco, CA 94103-1708          San Jose, CA 95113-1608



eBay                                        eCommerce CDN, LLC                    mongoDB Cloud
2025 Hamilton Avenue                        221 E 63rd Street                     1633 Broadway 39th Floor
San Jose, CA 95125-5904                     Savannah, GA 31405-4226               New York, NY 10019-6757



Alexander E. Jones                          Christina Walton Stephenson           Christopher R Murray
c/o 2525 McKinnon Street                    Crowe & Dunlevy                       Jones Murray LLP
Suite 425                                   2525 McKinnon St.                     602 Sawyer St
Dallas, TX 75201                            Ste 425                               Ste 400
                                            Dallas, TX 75201-1543                 Houston, TX 77007-7510
                       Case 22-33553 Document 882 Filed in TXSB on 10/15/24 Page 28 of 29
Erica L. Ash                                         Francine Wheeler                                     Leonard Pozner
c/o Cain & Skarnulis PLLC                            Cain & Skarnulis PLLC                                c/o McDowell Hetherington LLP
303 Colorado Street                                  Ryan E. Chapple                                      Attention: Avi Moshenberg
Suite 2850                                           303 Colorado Street                                  1001 Fannin Street
Austin, TX 78701-0137                                Suite 2850                                           Suite 2700
                                                     Austin, TX 78701-0137                                Houston, TX 77002-6774
Marcel Fontaine                                      Neil Heslin                                          Richard M. Coan
c/o McDowell Hetherington LLP                        c/o McDowell Hetherington LLP                        c/o Cain & Skarnulis PLLC
Attention: Avi Moshenberg                            Attention: Avi Moshenberg                            303 Colorado Street
1001 Fannin                                          1001 Fannin Street                                   Suite 2850
Suite 2700                                           Suite 2700                                           Austin, TX 78701-0137
Houston, TX 77002-6774                               Houston, TX 77002-6774
Scarlett Lewis                                       Shelby A Jordan                                      Veronique De La Rosa
c/o McDowell Hetherington LLP                        Jordan & Ortiz, PC                                   c/o McDowell Hetherington LLP
Attention: Avi Moshenberg                            500 N Shoreline Blvd                                 Attention: Avi Moshenberg
1001 Fannin Street                                   Ste 804                                              1001 Fannin Street
Suite 2700                                           Corpus Christi, TX 78401-0335                        Suite 2700
Houston, TX 77002-6774                                                                                    Houston, TX 77002-6774
Vickie L Driver
Crowe & Dunlevy, P.C.
2525 McKinnon St.
Ste 425
Dallas, TX 75201-1543



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Konica Minolta Premier Finance
PO Box 41602
Philadelphia, PA 19101-1602




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Akin Gump Strauss Hauer & Feld LLP                (u)Public Storage                                    (d)Ally Bank
                                                                                                          c/o AIS Portfolio Services, LLC
                                                                                                          4515 N. Santa Fe Ave. Dept. APS
                                                                                                          Oklahoma City, OK 73118-7901


(d)American Express National Bank                    (d)American Express National Bank                    (d)Bank of America N.A.
c/o Becket and Lee LLP                               c/o Becket and Lee LLP                               PO Box 31785
PO Box 3001                                          PO Box 3001                                          Tampa, FL 33631-3785
Malvern PA 19355-0701                                Malvern, PA 19355-0701


(d)Free Speech Systems. LLC                          (u)Carlee Soto Parisi                                (u)Carlos M Soto
3019 Alvin Devane, Suite 350
Austin, Texas 78741-7424
                         Case 22-33553 Document 882 Filed in TXSB on 10/15/24 Page 29 of 29
(u)David Wheeler                           (u)David Ross Jones                (u)Donna Soto




(u)Ian Hockley                             (u)Jacqueline Barden               (u)Jennifer Hensel




(u)Jillian Soto-Marino                     (u)Mark Barden                     (u)Nicole Hockley




(u)Robert Parker                           (u)William Aldenberg               (u)William Sherlach




End of Label Matrix
Mailable recipients   189
Bypassed recipients    21
Total                 210
